Case 1:18-cv-11071-AKH Document 42-3 Filed 01/28/19 Page 1 of 3




          EXHIBIT C
                                                Case 1:18-cv-11071-AKH Document 42-3 Filed 01/28/19 Page 2 of 3



                                                                                         Northeast Carpenters Annuity Fund Losses                                                                                GreenSky, Inc.



                                                                          Post‐Filing
                                                         Purchase Price                                                Sales on Class
             Transaction                                                   Sale Price    Class Period   Class Period
Trade Date                 # Shares    Share Price ($)     Limited by                                                     Period            Cost         Proceeds                          Damage Summary
                Type                                                      Limited by      Purchases        Sales
                                                           Offer Price                                                  Purchases
                                                                          Filing Price
5/24/2018     Purchase           600         23.3768           23.0000                           600             ‐               ‐      $    13,800.00              ‐   Total Purchases:                                31,400
5/24/2018     Purchase           400         23.3835           23.0000                           400             ‐               ‐      $     9,200.00              ‐   Total Sales:                                   (31,400)
5/24/2018     Purchase         9,600               23          23.0000                         9,600             ‐               ‐      $   220,800.00              ‐   Total Sales on Purchases:                      (31,400)
5/24/2018     Purchase           600          23.335           23.0000                           600             ‐               ‐      $    13,800.00              ‐   Shares Held:                                       ‐
5/24/2018     Purchase         2,400         22.8623           22.8623                         2,400             ‐               ‐      $    54,869.52              ‐   Price on Date of First Suit*:        $            9.92
5/24/2018     Purchase         1,000         23.3719           23.0000                         1,000             ‐               ‐      $    23,000.00              ‐
5/24/2018     Purchase           800         23.0026           23.0000                           800             ‐               ‐      $    18,400.00              ‐   Total Purchases:                     $      670,876.43
5/25/2018     Purchase           200           25.22           23.0000                           200             ‐               ‐      $     4,600.00              ‐   Total Sales Proceeds:                $     (307,370.11)
5/25/2018     Purchase           700          24.578           23.0000                           700             ‐               ‐      $    16,100.00              ‐   Total Retained Value:                $             ‐
5/29/2018     Purchase           200         24.4729           23.0000                           200             ‐               ‐      $     4,600.00              ‐
 6/5/2018     Purchase           100          25.582           23.0000                           100             ‐               ‐      $     2,300.00              ‐   Total Loss:                          $     363,506.32
 6/5/2018     Purchase           300         25.4913           23.0000                           300             ‐               ‐      $     6,900.00              ‐
 6/7/2018     Purchase         1,600         22.9903           22.9903                         1,600             ‐               ‐      $    36,784.48              ‐   *The Date of First Suit/Filing Date used is 11/12/2018.
 6/7/2018     Purchase           200         22.9993           22.9993                           200             ‐               ‐      $     4,599.86              ‐
6/25/2018     Purchase           100         23.0144           23.0000                           100             ‐               ‐      $     2,300.00              ‐
6/26/2018     Purchase           500         22.7707           22.7707                           500             ‐               ‐      $    11,385.35              ‐
6/27/2018     Purchase           400           20.22           20.2200                           400             ‐               ‐      $     8,088.00              ‐
6/27/2018     Purchase           400           20.12           20.1200                           400             ‐               ‐      $     8,048.00              ‐
6/29/2018     Purchase           600         21.4197           21.4197                           600             ‐               ‐      $    12,851.82              ‐
 7/3/2018     Purchase           300         20.8806           20.8806                           300             ‐               ‐      $     6,264.18              ‐
 7/6/2018     Purchase           100         21.1417           21.1417                           100             ‐               ‐      $     2,114.17              ‐
7/17/2018     Purchase           300         18.8869           18.8869                           300             ‐               ‐      $     5,666.07              ‐
7/23/2018     Purchase           100          19.385           19.3850                           100             ‐               ‐      $     1,938.50              ‐
7/23/2018     Purchase           100         19.4921           19.4921                           100             ‐               ‐      $     1,949.21              ‐
7/25/2018     Purchase           400           19.28           19.2800                           400             ‐               ‐      $     7,712.00              ‐
7/25/2018     Purchase           100             19.3          19.3000                           100             ‐               ‐      $     1,930.00              ‐
 8/8/2018     Purchase           600         18.9865           18.9865                           600             ‐               ‐      $    11,391.90              ‐
 8/9/2018     Purchase           600         17.9124           17.9124                           600             ‐               ‐      $    10,747.44              ‐
8/13/2018     Purchase           200           14.78           14.7800                           200             ‐               ‐      $     2,956.00              ‐
8/13/2018     Purchase           300           14.94           14.9400                           300             ‐               ‐      $     4,482.00              ‐
8/13/2018     Purchase           100          14.905           14.9050                           100             ‐               ‐      $     1,490.50              ‐
8/14/2018     Purchase           500         15.2291           15.2291                           500             ‐               ‐      $     7,614.55              ‐
8/15/2018     Purchase           200         15.6198           15.6198                           200             ‐               ‐      $     3,123.96              ‐
8/16/2018     Purchase           700         17.4115           17.4115                           700             ‐               ‐      $    12,188.05              ‐
8/20/2018     Purchase           400         17.9241           17.9241                           400             ‐               ‐      $     7,169.64              ‐
9/13/2018     Purchase           800         19.9648           19.9648                           800             ‐               ‐      $    15,971.84              ‐
9/18/2018     Purchase           100           19.44           19.4400                           100             ‐               ‐      $     1,944.00              ‐
9/18/2018     Purchase           200         19.7161           19.7161                           200             ‐               ‐      $     3,943.22              ‐
9/18/2018     Purchase           100         19.5191           19.5191                           100             ‐               ‐      $     1,951.91              ‐
9/20/2018     Purchase         1,700         20.1521           20.1521                         1,700             ‐               ‐      $    34,258.57              ‐
9/21/2018     Purchase           400         20.0958           20.0958                           400             ‐               ‐      $     8,038.32              ‐
9/24/2018     Purchase           300         19.8584           19.8584                           300             ‐               ‐      $     5,957.52              ‐
9/24/2018     Purchase           500         19.8499           19.8499                           500             ‐               ‐      $     9,924.95              ‐
9/25/2018     Purchase           300         19.6738           19.6738                           300             ‐               ‐      $     5,902.14              ‐
9/26/2018     Purchase           400         18.9789           18.9789                           400             ‐               ‐      $     7,591.56              ‐




                                                                                                            Page 1 of 2
                                    Case 1:18-cv-11071-AKH Document 42-3 Filed 01/28/19 Page 3 of 3



                                                                 Northeast Carpenters Annuity Fund Losses                                GreenSky, Inc.



 9/26/2018   Purchase      200     18.805    18.8050                   200          ‐            ‐    $     3,761.00              ‐
 9/26/2018   Purchase      200     19.481    19.4810                   200          ‐            ‐    $     3,896.20              ‐
10/25/2018   Purchase      500      13.14    13.1400                   500          ‐            ‐    $     6,570.00              ‐
 11/6/2018     Sale       (200)     9.525                              ‐           (200)        (200)            ‐     $    (1,905.00)
 11/6/2018     Sale       (500)    9.3367                              ‐           (500)        (500)            ‐     $    (4,668.35)
 11/6/2018     Sale       (100)     9.535                              ‐           (100)        (100)            ‐     $      (953.50)
 11/6/2018     Sale       (300)    9.3765                              ‐           (300)        (300)            ‐     $    (2,812.95)
 11/6/2018     Sale     (2,000)    9.2426                              ‐         (2,000)      (2,000)            ‐     $   (18,485.20)
 11/7/2018     Sale       (400)    9.3715                              ‐           (400)        (400)            ‐     $    (3,748.60)
 11/7/2018     Sale       (100)    9.1409                              ‐           (100)        (100)            ‐     $      (914.09)
 11/7/2018     Sale       (100)    9.4108                              ‐           (100)        (100)            ‐     $      (941.08)
 11/8/2018     Sale       (200)    8.8858                              ‐           (200)        (200)            ‐     $    (1,777.16)
 11/8/2018     Sale     (2,000)    8.9379                              ‐         (2,000)      (2,000)            ‐     $   (17,875.80)
 11/8/2018     Sale       (200)    9.0045                              ‐           (200)        (200)            ‐     $    (1,800.90)
 11/9/2018     Sale       (400)    9.7961                              ‐           (400)        (400)            ‐     $    (3,918.44)
 11/9/2018     Sale     (1,100)    9.6233                              ‐         (1,100)      (1,100)            ‐     $   (10,585.63)
 11/9/2018     Sale       (100)    9.8469                              ‐           (100)        (100)            ‐     $      (984.69)
 11/9/2018     Sale     (3,800)    9.8325                              ‐         (3,800)      (3,800)            ‐     $   (37,363.50)
11/12/2018     Sale     (2,900)    9.9931                              ‐         (2,900)      (2,900)            ‐     $   (28,979.99)
11/13/2018     Sale     (1,300)   10.1784              10.1784         ‐         (1,300)      (1,300)            ‐     $   (13,231.92)
11/13/2018     Sale     (1,300)   10.1476              10.1476         ‐         (1,300)      (1,300)            ‐     $   (13,191.88)
11/13/2018     Sale     (1,300)   10.1641              10.1641         ‐         (1,300)      (1,300)            ‐     $   (13,213.33)
11/14/2018     Sale       (200)    9.5658               9.9200         ‐           (200)        (200)            ‐     $    (1,984.00)
11/15/2018     Sale       (500)    9.8517               9.9200         ‐           (500)        (500)            ‐     $    (4,960.00)
11/15/2018     Sale       (500)   10.0522              10.0522         ‐           (500)        (500)            ‐     $    (5,026.10)
11/16/2018     Sale       (200)    9.7462               9.9200         ‐           (200)        (200)            ‐     $    (1,984.00)
11/19/2018     Sale       (100)    9.4318               9.9200         ‐           (100)        (100)            ‐     $      (992.00)
11/21/2018     Sale       (900)    9.3633               9.9200         ‐           (900)        (900)            ‐     $    (8,928.00)
11/26/2018     Sale       (300)     9.183               9.9200         ‐           (300)        (300)            ‐     $    (2,976.00)
11/27/2018     Sale       (400)     9.319               9.9200         ‐           (400)        (400)            ‐     $    (3,968.00)
11/28/2018     Sale       (300)    9.3289               9.9200         ‐           (300)        (300)            ‐     $    (2,976.00)
11/29/2018     Sale       (200)    9.3041               9.9200         ‐           (200)        (200)            ‐     $    (1,984.00)
11/30/2018     Sale       (300)    9.3628               9.9200         ‐           (300)        (300)            ‐     $    (2,976.00)
 12/3/2018     Sale       (200)    9.2502               9.9200         ‐           (200)        (200)            ‐     $    (1,984.00)
 12/6/2018     Sale       (400)       8.92              9.9200         ‐           (400)        (400)            ‐     $    (3,968.00)
 12/6/2018     Sale       (600)    8.9557               9.9200         ‐           (600)        (600)            ‐     $    (5,952.00)
 12/7/2018     Sale     (1,700)    8.9586               9.9200         ‐         (1,700)      (1,700)            ‐     $   (16,864.00)
12/10/2018     Sale       (300)     9.325               9.9200         ‐           (300)        (300)            ‐     $    (2,976.00)
12/10/2018     Sale       (200)    9.3013               9.9200         ‐           (200)        (200)            ‐     $    (1,984.00)
12/10/2018     Sale     (1,900)    9.3814               9.9200         ‐         (1,900)      (1,900)            ‐     $   (18,848.00)
12/11/2018     Sale       (300)    8.9999               9.9200         ‐           (300)        (300)            ‐     $    (2,976.00)
12/12/2018     Sale       (200)       9.13              9.9200         ‐           (200)        (200)            ‐     $    (1,984.00)
12/12/2018     Sale       (800)       9.29              9.9200         ‐           (800)        (800)            ‐     $    (7,936.00)
12/13/2018     Sale       (200)    9.0185               9.9200         ‐           (200)        (200)            ‐     $    (1,984.00)
12/17/2018     Sale       (600)    8.5541               9.9200         ‐           (600)        (600)            ‐     $    (5,952.00)
12/18/2018     Sale     (1,800)    8.8719               9.9200         ‐         (1,800)      (1,800)            ‐     $   (17,856.00)




                                                                                Page 2 of 2
